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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

    UNITED STATES OF AMERICA,                           )
                                                        )
         Plaintiff,                                     )
                                                        )
    V.                                                  )   No. 4:24-CR-00142 HEA
                                                        )
    JASON M. ENKE,                                      )
               '                                        )
         Defendant.                                     )



                                    ·, GUILTY PLEA AGREEMENT

            Come now the parties and hereby agree, as follows:

   1.       PARTIES:

            The parties are the defendant Jason M. Enke, represented by defense counsel Terry J.

   Flanagan, and the United States of America (hereinafter "United States" or "Government"),

  represented by the Office of t~e United States Attorney for the Eastern ])istrict of Missouri. This

   agreement does not, and is not intended to, bind any governmental office or agency other than

  the United States Attorney for the Eastern District of Missouri. The Court is neither a party to

  nor bound by this agreement.

  2.        GUILTY PLEA:

            Pursuant to Rule ll(c)(l)(A), Federal Rules of Criminal Procedure, in exchange for the

   defendant's voluntary plea of guilty to all counts of the Indictment, the Government agrees that

  no further federal prosecution will be brought in this District relative to the defendant's offenses

  stemming from the facts that gave rise to the charging instruments, of which the Government is

, aware at this time.

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        The parties agree that the recommendations co:r~tained herein fairly and accurately set

forth some guidelines that may be applicable to this case. The p~ies agree to make a joint

request for a sentence of no more than one hundred and sixty-eight (168) months of

imprisonment followed by a period oflife on supervised release and all applicable restitution and

assessments .. The parties understand that the Court is neither· a party to nor bound by the

Guideline's recommendations agreed to in this document nor the sentencing recommendation of

the parties.

      • The defendant knowingly and voluntarily waives any right, title, and interest in all items

seized by law enforcement officials during the course of their investigations, whether or not they

are subject to forfeiture, and agrees not to contest the vesting' of title of such items in the United

States. The defendant agrees that said items may be disposed of by law enforcement officials in

any manner.

3.      ELEMENTS:

        As to Count One, the·defendant admits to knowingly vioiating Title 18, United States

Code, Section 2252A(a)(2), and admits there is a factual basis for the plea and further fully

understands that the elements of the crime of Receipt of Child Pornography which he admits to

knowingly committing and for which he admits there is a factual basis are: (1) defendant

knowingly received (2) using any means or facility of interstate or foreign commerce, including

by computer, (3) images of child pornography, (4) which were visual depictions where the
                                                              •,


production
 •       I
           of such visual
                      .
                          depictions involved the use of a minor
                                                            .
                                                                 engaging in sexually explicit

conduct and such visual depictions were of a minor engaging in sexually explicit conduct.



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     - As to Count Two, the defendant admits to knowingly violating Title 18, United States

Code, Section 2252A(a)(2), and admits there is a factual basis for the plea and further fully

understands that the elements of the crime of Distributing of Child Pornography which he admits.

to knowingly committing and for which he admits there is a factual basis are: (1) defendant

knowingly distributed (2) using any means or facility of interstate or foreign commerce, •

including by computer, (3) images of child pornography, (4) which were visual depictions where

the production of such visual depictions involved the use of a minor engaging in sexually explicit

conduct and such visual depictions were of a minor engaging in sexually explicit conduct.
                   .                                             ~




       As to Count Three, the defendant admits to knowingly violating Title 18,_ United States

Code, Section 2422(b), coercion and enticement of a minor, and admits there is a factual basis

for the plea and further fully understands that the elements of the crime are (1) the defendant

knowingly attempted to persuade, induce·, entice or coerce an individual (2).who had not attained

the age of eighteen years (3) to engage in sexual activity (4) for which any person can be charged

with a criminal offense and (5) did so utilizing the internet, a means of interstate and foreign

commerce.

4.     FACTS:

       ,The parties agree that the facts in this case are as follows and that the Government would
                            \                                                      •




prove these facts beyond a reasonable doubt if the case were to go to trial. These facts may be

considered as relevant conduct pursuant to Section lB 1.3:

       In November of 2023, the FBI St. Louis Field Office received CyberTip 176243543 from

the National Center for Missing and Exploited Children (NCMEC) reporting the defendant Jason

Enke's distribution, on October 13, 2023, of a video of child pornography to an Instagram user

using the screenname "its_silence_lover", who listed their age as 15. The video Enke sent to

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"its_silence_lover" over Instagram depicted a juvenile female penetrating her vagina with a

comb and urinating.

        In September and October of 2023, Enke participated in an internet-based social media

chat with an individual utilizing the screenname "zurisadaiguz." During the chat, Enke messaged
                                                                                       ,
. with "zurisadaiguz" to include sending photographs, audio messages, and video files which were

sexual in nature. The photographs included photographs of an adult male penis. Most of the

comn.i.unications between'-Enke and "zurisadaiguz" were sexual in nature and included Enke's

nicknames for "zurisadaiguz" to include, "good little girl," "princess," and "baby girl."

"Zurisadaiguz" indicates to Enke that she is in the presence of her sister during some of their

communications. On September 22, 2023, during communic_ations about masturbation, Enke

.asked "zurisadaiguz," "Did you rub with sister there?" Further communications between Enke

and zurisadaiguz are set forth below.

        On September 22, 2023, the following communications took place.

                       Enke: "you wouldn't fuck me?"

                       Zurisadaiguz: "young skin."

                      Enke: "What yours is?"

                      Zurisadaiguz: "Yup."

               On September 22, 2023, at 21:13 hours (UTC), Enke sent a 59-second video to

"zurisadaiguz" which included a male and female engaged in sexual intercourse. While sending

the video to "zurisadaiguz," Enke stated "me and another ex she was 16." FBI
                                                                          ..
                                                                             St. Louis located

the female depicted in this vide0, whose initials are S.W. and who presently resides in

Wisconsin. S.W. identified herself as the female in this video and confirmed that she was 16



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years of age at the time the video' was produced by Enke of his sexual contact with her that took

place in the state of Missouri.

       On October 3, 2023, the following communications took place.

                       Enke: "hey bb."

                       Zurisadaiguz: "Morning"

                       Zurisadaiguz: "in class."

                       Enke: ~'would you rather be o daddy's cock tho?"

       On October 5, 2023, the following communications took place.

                       Enke: "Sweetie you busy?"

                       Enke: "I mISs you"

                       Zurisadaiguz: "No"

                       Enke: "Oh in school?;'

                       Zurisadaiguz: "Yup"

       On October 10, 2023, the following communications took place.

                       Enke to zurisadaiguz: "You still my good little girl?"

                       Enke: "Homework?"

                       Enke: "You wearing cute pjs?" ,

               On October 11, 2023, Enke participated in an online social media chat with

usemame "its_silence_lover." During the chat, Enke messaged with "its_silence_lover" to

include sending photographs, audio messages, and video files which were sexual in nature. The

photographs included photographs of a male penis. Instagram indicated that the reported age of

the individual utilizing the usemame "its_silence_lover" was "15." Communications between

Enke and its silence •lover are set forth below.

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        On October 11, 2023, the following communications took place.

                       EI_lke: "Fuck me now please''     ·,

                       its_silence_lover: "sit on your dick"

                       Enke: "Yes please"

                       Enke: "Do that now"

               Following this interaction, Enke sent a video to "its_silence_lover" .. The video

. was a 36-second video of a female minor masturbating with her hand. On October 11, 2023, after

 sending the video, the following further communications took place.

                       Enke: "Me and an ex"

                       Enke: "Yes"

                       Enke: "You ar:e so sweet and sexy"

                      'its silence lover: "Ok"
                                     ,           •             I                           .

        Following this interaction, Enke sent another video to "its_silence_lover." The video was

 a 59-second video of a whit~ male and white female engaged in sexual intercourse. The video

 was the same video Enke sent to "zurisadaiguz" when he stated to "zurisadaiguz": "Me and

 another ex she was 16" that depicts Enke and juvenile S.W. engage,din sexual contact.

        Also, on October 11, 2023, the following interaction too½ place.

                       Its_silence.Jover: I'm busy now.

                       Enke: Really Why

                       Enke: I didn't cum.

                       Enke: Video was uploaded.

                       Enke: Now my days going to be bad and painful "asf."



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       The video uploaded in this communication was the video originally submitted to

NCMEC. The video depicted a female minor penetrating her vagina with a comb, who is also

urinating during the video.

       From Augu.st 30, 2023 to October 10, 2023, Enke participated in an online social media

chat with usemame "b.e.a.t.r.i.c.e_22." During the chat, Enke messaged with "b.e.a.t.r.Lc.e_22"

to include sending video files which were sexual in nature.

       On August 30, 2023, the following interaction took place.

                      Enke: "You horny?"

                      b.e.a.t.r.i.c.e_22: ''Not really, not right now" _•

                      Enke: Video sent

                      Enke: "Awe I wanna play around with you baby"

                      Enke: "I have toys too"

                      Enke: "Wyd"

                      Enke: "Me and another ex"

                      Enke: video sent

                      b.e.a.t.r.i.c.e 22: "wow that's so"

                      Enke: Thanks

                      Enke: Your pussy look better bb?"

                      b.e.a.t.r.i.c.e_22: "Yes but I'm not going to show it to you. Who are the

               children on your profile?

                      Enke: "My daughters I'm divorced aµd single. Why won't you baby"

               The first video Enke sent to "b.e.a.t.r.i.c.e_22" was ofa male and a female having

sexual intercourse. The second video Enke sent to "b.e.a.t.r.i.c.e 22" was a 59 second video of a

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male and juvenile female engaged in sexual intercour;,e. The video was the same video Enke sent

to zurisadaiguz when he stated to zurisadaiguz "Me and an~ther ex she was 16," depicting

Enke's sexual contact with juvenile S.W.

       From August 26;2020 to October 8, 2023, Enke participated in an online social media

chat with usemame "Kelsey.ig." The following communications took place.

                     Jason6565453: "Hi"

                     Kelsey.ig: ,"Hello"

                     Jason6565453: "What's up"

                     Kelsey.ig: "Nun much"

                     Jason6565453: "Ya just bored"

                     Jason6565453: "Where you from"

                     Kelsey.ig: '';England"

                     Jason6565453: "Wow so you have that sexy England accent lol"

                     Kelsey.ig: "Err"

                     Kelsey.ig: "Your like 30:'

                     Jason6565453: "Ok u are?"

                     Kelsey.ig: "I'm underage"

                     Jason6565453: "Oh oops"

                     Jason6565453: "Sorry you mad now"

                     Kelsey .ig: "What"

                     Jason6565453: "Mad at me"

                     Kelsey.ig: "Er why would I be"

                     Jason6565453: "For that sexy thing"

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                  Kelsey.ig: "Err what"

                  Jason6565453: "You want me to leave?"

                  Jason6565453: "And the pie I sent on snap? You didn't like it?"

                  Kelsey.ig: "What"

                  Jason6565453: "On Snapchat I sent a pie did you like it"

                  Kelsey.ig: "coo"

                  Jason6565453: "Hi"

                  Jason6565453: "Hey wyd" _

                  Kelsey.ig: "Share x"

                  Kelsey.ig: Sent uriknown.attachment

                  Jasoii6565453: "Your sexy asf sweetheart

                  Jason6565453: "Hey sexy"

                  Jason6565453: "Hi"

                  Jason6565453: "Hey sweetie"

                  Kelsey.ig: Sent unknown attachment

                  Kelsey .ig: "Share x"

                  Jason6565453: "Hey"

                  Jason6565453: "Hello"

                  Jason6565453: "Hey''

                  Jason6565453: "You busy"

                  Jason6565453: "So sexy wow"

                  Jason6565453: "How you been doing?"

                  Jason6565453: "Hey bb"

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        Jason6565453: "Kelsey.ig wasn't notified about this message because they're in quiet

mode"

        From August 15, 2023 to October 6, 2023, Enke participated in a chat with usemame

"_adeline._reilly._." The communications from Enke to "_adeline,_reilly._" were sexual in

nature. These communications included the communications set forth below.

        On August 15, 2023,.Enke states to "_adeline._reilly._," "I'd love.to get freaky with you

baby girl lol." On August 15, 2023, Enke tells "_adeline._reilly._," !'You need to learn about

your body." Later in that same communications Enke tells her, "I can't believe you have never

done anything yet." When Enke askes "You seen a dick irl," "_adeline._reilly._" responds "No."

Enke proceeds in his communications with "_adeline.~reilly._" to describe, in explicit terms,

sexual contact he would like to have with her. When Enke tells "_adeline._reilly._" "Want to

actually share my cock in you bb" and "I wish you actually liked my· dick bb,"

"_adeline._reilly._" responds "Umm ... " "I'm feeling uncomfortable." In communications,

"_adeline._reiily._" refers multiple times to her "Mom" and "grandpa" being present near her

and Enke suggests she go to her room to communicate with him. During communications on
                          .               -
August 29, -2023, "_adeline._reilly._" tells Enke that she is "in class."

        On or about February 14, 2022, Crawford County Sp.eriffs office took a report from a

father who reported concerning communications from Enke to the reporter's 15-year old

daughter via the intemet-baseq. social media app Facebook Messenger. Those communications

included the following:

               Enke: Hey what's up? You not friends with [name ofEnke's daughter omitted]

anymore?

               Juvenile: I thought we were lol

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                Enke: Ya I'm just messing with ya lol how ya been?

                Juvenile: Good wb_u?

                Enke; Not too bad dealing with these monsters haha

                Juvenile: Ifahaha that's good

                Enke: [Name ofEnke's daughter omitted] said you been racking them in? lol

                Enke: Don't tell her I said anything.

                Juvenile: What do you mean lol

                Enke: You know what I mean lol

                Enke: i now damn

               Enke: (smiling face emoji)

                Juvenile: 7? I'm kinda confused atm

               Enke: Body count as you all call it I think lol

                Juvenile: I have 6 lol I ha,ven't had a body in like month but yeah

               Enke: Oh wow damn

               Juvenile: Yeah regret it but it happens ig

               Enke: How old was you on first

               Juvenile: 14

               Enke: Oh

              . Enke: And don't regret it

               Enke: Its only sex just be smart about it

       Juvenile: Well I regret how it be especially how young I am and thank you for not
                                                                                      (


bashing me ab it actually cuz a: lot of ppl

               Enke: Your fine

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                  Enke: Did you call me a dilf? Lol

                  Juvenile: No? lol

                  Enke: And don't worry I lost count around 50ish that was in 20s lol

                  Enke: In my 20s

                  Juvenile: Okay lol

                  Enke: o u :mad at me?

                  Juvenil~: No I'm ·getting ready for school

                  Enke: well ya duh haha

                  Enke: You aint telling her are you?

                  Juvenile:' No

                  Enke: Ok don't want no shit lol

                  Juvenile: Understandable

                  Enke: Sorry for putting _you on the spot

                  Juv~Iiile: No you're okay lol

                  Juvenile: I kp.ow lol

                  Enke: D_o you want me to stop talking to you?
         \
             '\                       '
                  Juvenile: You don't have to lol I'm just getting ready for school

                  Enke: IK you are I'm just curious if your weirded out or what?

                  Juvenile: Oh no lol! I didn't think anything like that

                  Enke: Cool (with ·a shh~emoji)

                  Juvenile: Okok

                  Enke: You ride the bus?

                  Juvenile: Yeah

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               Enke: Though so they don't know where the bus goes kinda scattered brained

               Enke: How many of them things you drink you drink that night?

               Enke: What are you doing tonight?

               Juvenile: Nothing

               Enke: Nothing at all you should come over and help me a paint LOL

               Juvenile: is [name ofEnke's daughter omitted] going to be there this weekend?

               Enke: No lol.

        On March 13, 2024, Special Agents of the FBI executed a federal search warrant

authorized by the United.States District Court for the eastern District of Missouri at Enke's

residence in Bourbon,'MO. Upon contact with the occupants of the residence, Enke exited the
                                                                .                  '




house. Enke's three minor daughters .also exited the residence and disclosed to agents that they

were the victims of verbal, mental, and physical abuse by Enke. Additionally, the daughters

identified devices in the residence used by Enke. The eldest daughter, M.E., stated her father

used "meth" and would also engage in alcohol abuse on a regular basis. The daughters stated the

home is not safe for them.

        During the search of the residence, agents located a handgun in a lockbox under Enke's

bed .. Also, during the search several phones arid computer devices were also located. The

forensic review of these devices revealed multiple images and videos of child pornography
                                                                               )




including the following files:

        •      A video titled "September 5, 2023" depicting a prepubescent minor female with

•tan skin on a bed with what appears to be an adult male wearing an orange in color shirt. The

male manipulates the female's legs, exposing her vagina. Additionally, a piece of cloth is placed

over her face. The male then touches her vagina in a sexual manner .

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       •       A photo titled "November 2, 2021" depicting a prepubescent minor female's

vagina. The female is wearing a pink shirt with the words "Best Friends". visible, as well as

several cartoon images.

       •       A video titled "September 11, 2015" depicting what appears to be a prepubescent

minor female engage in masturbation with a brush and urinating. This video is the subject of the

original NCMEC report provided to the FBI.

       •.      A video titled "December 11, 2019" depicting a minor female with tan skin on her

back. The video also depicts the minor exposing her vagina and anus to the camera.

       •       A video titled "December 17, 2019" depicting a prepubescent minor female

without clothing, lying on a bed. An adult, male's hand is seen touching the child. Also visible is

a watermark reading "New Exclusive 2017-Bruninha 10y -Brazil". The male is also visibly

masturbating in the video. The pair eventually engage in vaginal sex.

       •       A video titled "November 3, 2019" in which a minor female, approximately 12

years or age is lying on her back, being anally penetrated by a penis. The female depicted in the

video appears to be in pain from the penetrative act.

       On March 13, 2024, FBI Special Agent Tyler Roby and an officer from the Crawford

County Sheriffs Office conducted an interview of Enke. Enke was provided his Miranda

warnings. During the interview, Enke admitting to having possessed child pomogr:aphy

depicting a chil~ as young as six, but also stated he deleted such images and reported the

individual who sent them to him. Enke admitted to possessing between five and 50

images/videos of child pornography on his iPhone; however, Enke stated the images were

automatically downloaded to his phone and that he had nothing to do with it.

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       Enke also admitted to having a previous Facebook messenger conversation of a sexual

nature with a 15-year-old female friend of his daughter. Enke stated the purpose of this

conversation was to teach his daughter a lesson and that the friend had initiated the sexual

conversation. Enke stated he was also involved in at least one other sexual conversation on social

media with an individual who identified themselves as a minor but continued the conversation

regardless.

       Enke communicated with multiple minors in a sexual manner via internet-based social

media applications, and Enke distributed images and videos of child pornography, including a

video of his sexual contact with juvenile S.W., via the interne{ Enke communicated with the

minors via the internet and, know~ng they were juveniles, attempted to induce and persuade them

to engage in sexual conduct and to receive obscene material and child pornography for his

personal sexual gratification. The Internet was, and is, a computer communications network

using interstate and _foreign lines to transmit data streams, including data streams used to store, .

transfer and receive graphic files. The Internet is a means and facility of interstate and foreign

commerce. The defendant utilized digital devices that travelled in foreign and interstate

commerce to communicate with these minors and to receive and distribute child pornography.

5.     STATUTORY PENALTIES:

       As to Counts One and Two, the defendant fully understands that that the maximum

possible penalty. provided by law for the crime of Receipt of Child Pornography which the
                                                                                           I
defendant is pleading guilty is imprisonment of not less than five years and not more than twenty

years, and a fine of not more than $250·,ooo. The Court may also impose a period of supervised

release of not more than life and not less than five years. The defendant fully understands that

the crime to which a guilty plea is being entered, Receipt of Child Pornography, requires a·

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  mandatory minimum term of imprisonment of at' least five years.

          As to Count Three, the defendant fully understands that the maximum possible penalty

,. provided by law for the crime of Coercion and Enticement of a Minor to which the defendant is -

  pleading guilty is imprisonment of not less than_ ten years and not more than life, and a fine of

  not more than $250,000. The Court may also impose a period of supervi~ed release of not more

  than life and not less than five years. The defendant fully understands that the crimes to which a

  guilty plea is being entered, Enticement and Coercion of a Minor, requires a mandatory

  minimum term of imprisonment of-\at least ten years.

         Additionally, per 18 U.S.C. §§ 3663, 3663A, 2429, 2259, 2259A, the defendant fully

  understands that the Court will impose restitution to the victims of the offenses charged in the

  Indictment if restitution if requested.

  6.     U.S. SENTENCING GUIDELINES: 2018 MANUAL:

          The Defendant understands that this offense is affected by the U.S. Sentencing·

  Guidelines and the actual sentencing range is determined by 'both the Total Offense Level and

  the Criminal History Category. The parties agree that the following are the U.S. Sentencing.

  Guidelines Total Offense Level provisions that apply.

       - A. Chapter 2 Offense Conduct:
                                                                            )

                 -1. Chapter 2 Offense Conduct, Counts I & II, Receipt and Distribution of
                        '
          Child Pornography:

                  (a)       Base Offense Level: The parties agree that the base offense level twenty-

  two (22) as found in Section 2G2.2(a)(2) ·

                 (b)        Specific Offense Characteristics: The parties agree that the following·

          Specific Offense Characteristics apply:
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                 (i)    two (2) levels should be added pursuant to 2G2.2(b)(2) because the

                        material involved a prepubescent minor who had not attained the age of 12

                        years;

                 (ii)   five (5) levels should be added pursuant to 2G2.2(b)(3) because the

                        _offense involved distribution to a minor or distribution in exchange for

                        any valuable consideration, but not for pecuniary gain;

               •(iii)   four (4) levels should be added pursuant to 2G2.2(b)(4) because the

                        offense involved material that portrays sadistic or masochistic conduct or

                        other depictions of violence;

              . (iv)    five (5) levels should be added pursuant to 2G2.2(b)(5) because the

                        defendant engaged in a pattern of activity involving the sexual abuse or

                        exploitation of a minor;

                 (v)    two (2) levels should be added pursuant to 2G2.2(b)(6) because the
                                                                                          ''
                        offense involved the use of a computer or an interactive computer service

                        for the possession, transmission, receipt, or distribution of the material, or

                        for accessing with intent to view the material;

                 (vi) . five (5) levels should be added pursuant to 2G2.2(b)(7)(D) because the·

                        offense involved 600 or more images.

                 2. Chapter 2 Offense Conduct, Count III, Coercion and Enticement of a

        Minor:

                 (a)    Base Offense Level: The parties agree that the base offense level is

• twenty-eight (28) as,found in Section 2Gl.3(a)(3).



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               (b)    Specific Offense Characteristics: The parties agree that the following

Specific Offense Characteristics apply:

                      (i)     two (2) levels should be added pursuant to 2G2.l (b)( 6) as the

                              offense involved (A) the knowing misrepresentation of a

                              participant's identity to persuade, induce, entice, coerce or

                              facilitate the travel of, a minor to engage in sexually explicit

                              conduct and (b) the use of a computer or an interactive computer

                              service to pe~suade, induce, entice, coerce, or facilitate the _travel of

                              a minor to engage in _sexually explicit conduct, or to otherwise

                              solicit participation by a minor in such conduct; or to soiicit

                              participation with a minor in sexually explicit conduct.


       B. Chapter 3 Adjustments: The parties recommend the following adjustments:

              (1) Multiple Counts: The Government contends that five (5) levels should be

       added pursuant to Sections 3Dl.1 - 3Dl.5. The defendant may dispute the addition of

       five (5) levels under Sections 3Dl.1 - 3Dl.5.
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              (2) Acceptance of Responsibility: The parties agree that two (2) levels should be

       deducted pursuant to Section 3El.l(a), because the defendant has clearly demonstrated

       acceptance of responsibility for his offense. The parties agree that the defendant's

       eligibility for this deduction is based upon informatio:q. presently known. If subsequent to

       the taking of the guilty plea the government receives new evidence of statements or •

       conduct by the defendant which it believes are inconsistent with defendan~'s eligibility for

       this deduction, the government may present said evidence to the court, and argue that the


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        defendant should not receive all or part of the deduction pursuant to Section 3El.1,

        without violating the plea agreement. -

        C. Chapter 4 Adjustments: The parties agree that pursuant tb Section 4B l .5(b) five (5)

levels should be added to the offense level for Count III, as the defendant engaged in a pattern of

activity involving prohibited sexual conduct.

        D. Estimated Total Offense Level: The parties estimates that the Total Offense Level is

forty:.three (43).

        E. Criminal History: The determination of the defendant's Criminal History Category

shall be left to the Court. Either party may challenge, before and at sentencing, the finding of the

Presentence Report as to the defendant's criminal history and the applicable category. The

defendant's criminal history is known to the defendant and is substantially available in the

Pretrial Services Report.

        F. Effect of Parties' U.S. Sentencing Guidelines Analysis:

        The ·parties agree that the Court is not bound by the Guidelines analysis set forth herein.

The parties further agree that "they may not have foreseen all applicable Guidelines. The Court

may, in its discretion, apply or not apply any Guideline despite the Guideline analysis set forth

herein.and the parties shall not be permitted to withdraw from the pleaagreement. The

Government recognizes it is bound by any specific agreements made herein but reserves the right

to answer any questions the U'.S. Probation Office or the Court might have related to sentencing

or present evidence at the Court's request.




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7.   WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

     a.      Appeal: The defendant has been fully apprised by defense counsel of the

     defendant's rights concerning appeal and fully understands the right to appeal the

     sentence under Title 18, United States Code, Section 3742.

             (1)    Non-Sentencing Issues: The parties waive all rights to appeal all non-

            jurisdictional, n<?n-sentencing issues, including; but not limited to, any issues

            relating to pretrial motions, discovery and the guilty plea, the constitutionality of

            the statute(s) to which defendant is pleading guilty.and whether defen~ant's

             conduct falls within the scope of the statute(s).

             (2)    Sentencing Issues: In the event the Court accepts the plea and sentences

            the defendant to a term of imprisonment for a numbers of years that falls within or

            . below the applicable United States Sentencing Guidelines range as determined by

            the Court, then as part of this agreement, the parties hereby waive all rights to

            appeal all sentencing issues other than Criminal History, but-only if it affects the ·

            Base Offense Level or Criminal History Cat,egory.

     b.     .Habeas Corpus: The defendant agrees to waive all _rights to contest the

     conviction or sentence in any post-conviction proceeding; including one pursu;mt to Title

     _28, United States Code, Section 2255, except for claims ofprosecutorial misconduct or

     ineffective assistance of counsel.

     c.     Right to Records: The defendant waives all rights, whether asserted directly or

     by a representative, to request from any department or agency of the United States any

     records pertaining to the investigation or prosecution of this case, including any records



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       that may be sought under the Freedom oflnformation Act, Title 5, Unitecj States Code,

       Section 522, or the Privacy Act, Title 5, United States Code, Section 552(a).

• 8.   OTHER:

       a..    Disclosures Required by the United States Probation Office: The defendant

       agrees to truthfully complete and sign forms as required by the United States Probation

       Office prior to sentencing and consents to the release of these forms and any supporting

       documentation by the United States Probation Office to the Government.

       b.     Civil or Administrative Actions not Barred; Effect on Other Governmental

       Agencies: Nothing contained herein limits the rights and authority of the United States

       to take any civil, tax, immigration/deportation or administrative action against the_

       defendant.

       c.     Supervised Release: Pursuant to any supervised release term, the Court will

       impose standard conditions upon the defendant and may impose special conditions

       related to the crime defendant committed. Some of these special conditions may include

       that defendant not possess a computer or internet access, that defendant not have contact

       with minors without the authorization of the Probation Officer, that defendant participate

       in sexual offender counseling and that defendant not maintain a post office box. In

       addition, as a condition of supervised release, defendant shall initially register with the

       state sex offender registration in Missouri, and shall also register with the state sex

       offender registration agency in any state where defendant resides, is employed, works, or

       is a student, as directed by the Probation Officer. The defendant shall comply with all

       requirements of federal. and state sex offender registration laws.



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           . These and any other special conditions imposed by the Court will be restrictions

     with which defendant will be required to adhere. Violation of the conditions of

     supervised release resulting in revocation may require the defendant to serve a term of

     impris.onment equal to the length of the term of supervised .release, but not greater than

     the term set forth in Title 18, United States Code, Section 3583(e)(3), without credit for

     the time served after release. The defendant understands that parole has been abolished.

     If, while on supervised release for this case,: the defendant commits a new criminal

     offense under Chapters 109A, 110 or 117, or Title 18, United States Code, Sections 1201

     or 1591, for which imprisonment for a term longer than one year can be imposed, the .

     .defendant shall be sentenced on the supervised release revocation to not less than five

     years and up to the maximum term of life imprisonment.
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     d.     Special Assessments: Pursuant to Title 18, United States Code, Section 3013,

     the Court is required to. impose a mandatory special assessment of $100 per count for a

     total of $300, which the defendant agrees to pay at the timeof sentencing. Money paid

     by the defendant toward any restitution or fine imposed by the Court shall be first used to

     pay any unpaid mandatory special assessment.

            Pursuant to Title 18, United States Code, Section 3014, for offenses occurring on

     or. after May 29, 2015, the Court is required to ·impose an assessment of $5,000 per case

     on any non-indigent defendant convicted of an offense under chapter 110 (relating to

     sexual exploitation or other abuse of children, including, but not limited to, 18 U.S.C.

     §2252A, receipt of child pornography); and chapter 117 (relating to transportation for

     illegal sexual activity and related crimes, including but not limited to, 18 U.S.C. § 2422,

     coercion and enticement of a minor).

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                Additionally, per 18 U.S.C. § 2259A, defendant fully understands that for

        offenses committed on or after December 7, 2018, the Court may impose an assessment

        of not more than thirty-five thousand dollars ($35,000.00) per count for child

        pornography receipt offenses.

        e.      Possibility of Detention: The defendant shall be subject to immediate detention

       • pursuant to the provisions of Title 18, United States Code, Section 3143.

        f.      Fines, Restitution and Costs of Incarceration and Supervision: The Court

        may impose a fine, restitution (in addition to any penalty authorized by law), costs of

        incarceration and costs of supervision. The defendant agrees that any fine or restitution

        imposed by the Court will be due and payable immediately. Pursuant to 18 U.S.C. §§ •

        3663, 3663A, 2429, 2259 and/or 2259A, an order ofrestitution is mandatory. The amount

        of mandatory restitution imposed shall include _all amounts allowed by Sections

        3663A(b), 2429, 2259 and 2259A, including all relevant conduct loss.

        g.      Forfeiture: The defendant knowingly and voluntarily waives any right, title, and

        interest in all items seized by law enforcement officials during the.course of their

        investigation, ~hetp.er or not they are subject to forfeiture, and agrees not t9 contest the

       vesting of title of such items in the United States. The defendant agrees that said items

        may be disposed ofby law enforcement officials in any manner.

9.     ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT'S RIGHTS:

        In pleading guilty, the defendant acknowledges, fully understands and hereby w~ves his

rights, including but not limited to: the right to plead not guilty to the charges; the right !O be

tried by a jury in a public and speedy trial; the right to file pretrial motio~s, including motions to

suppress or exclude evidenc.e; the right at such trial _to a presumption of innocence; the right to

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require the Government to prove the elements of the offenses charged against the defendant

beyond a reasonable doubt; the right not to testify; the right not to present any evidence; the right

to be protected from compelled self-incrimination; the right at trial to confront and cross-

examine adverse witnesses; the right to testify and present evidence and the right to compel the

attendance of witnesses. The defendant further understands that by this guilty plea, the

defendant expressly waives all the rights set forth in this paragraph.

        The defendant fully understands that the defendant has the right to be represented by

counsel, and if necessary, to have the Court appoint counsel at trial and at every other stage of

the proceeding. The defendant's counsel has explained these rights and the.consequences of the

waiver of these rights. The defendant fully understands that, as a result of the guilty plea, no trial

will, in fact, occur and that the only action remaining to be .taken in this case is the imposition of

the sentence.

       Defendant understands that by pleading guilty, defendant will be subject to federal and

-state sex offender registration requirements, and that those requirements may apply for life. The
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defendant understands that defendant must keep said registrations current, shall notify the state

sex offender registration agency or agencies of any changes to defendant's name, place of

residence, employment, or student status, or other relevant information.· Defendant shall comply

with requirements to periodically verify in person said sex offender re~istration information.

Defendant understands that defendant will be subject to possible federal and state penalties for

failure to comply with any such sex offender registration requirements .. If defendant resides in        ,

Missouri following release from prison, defendant will _be sul)ject to the registration requirements

of Missouri state law. Defendant further understands that, under 18 U.S.C. § 4042(c), .notice will -

be provid.ed to certain law enforcement agencies upon release from confinement following

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 conviction. Defense counsel has advised the defendant of the possible sex offender registration

 consequences 'resulting from the plea.

           If the defendant is not a U.S. citizen, the guilty plea could impact defendant's

 immigration status or result in deportation. In particular, if any crime to which defendant is

 pleading guilty is an "aggravated felony" as defined by Title 8, United States Code, Section

 1101(a)(43), removal or deportation is presumed mandatory. Defense counsel has ad_vised the

 defenqaht of the possible immigration consequences, including deportation, resulting from the

 plea.

           The defendant is fully satisfied with .the representation received from defense counsel.

 The defendant has reviewed the Government's evidence and discussed the Government's case

 and all possible defenses and defense witnesses with defense counsel. Defense counsel has

 completely and satisfactorily explored all areas which the defendant has requested relative to the

 Government's case and any defenses.

 10.       VOLUNTARY NATURE·OF THE GUILTY PLEA AND PLEA AGREEMENT:

           This document constitutes the entire agreement between the defendant and the

 Government~ and no other promises or inducements have been made, directly or indirectly, by

• any agent of the Government, including any Department of Justice attorney, concerning any plea

 to be entered in this case. In addition, the defendant states that no person has, directly or

 indirectly, threatened or coerced the defendant to do or refrain from doing anything in

 connection with any aspect of this case, including entering a plea of guilty.

           The defendant acknowledges having voluntarily entered into b~th:the plea fgreement and

 the guilty plea. The defendant further acknowledges that this guilty plea is made of the
       .                        .        •                                               I
 defendant's own free will and that the defendant is, in fact, guilty.                   i
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11.    CONSEQUENCES OF POST-PLEA MISCONDUCT:

       After pleading 'guilty and before sentencing, if defendant commits any crimes, other than

minor traffic offenses, violates any conditions of release that results in revocation, violates any

term of this guilty-plea agreement, intentionally provides misleading, incomplete or untruthful

information to the U.S. Probation Office or fails to appear for sentencing, the United States, at its

option, may be released from its obligations under this agreement. The Government may also, in
                                                                     '                 '




its discretion, proceed with this agreement and may advocate for any sentencing position

supported by the facts, including but not limited to obstruction of justice and denial of

acceptance of responsibility.

12.    NO RIGHT TO WITHDRAW GUILTY PLEA:

       Pursuant to Rule 1 l(c) and (d), Federal Rules of Criminal Procedure, the defendant

understands that there will be no right to withdraw th~ plea entered under this agreement, except

where the Court rejects those portions of the plea agreement which deal with charges the
                                                                             '     I




Government agrees to dismiss or not to bring.




       Date




                                                      Defendant




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